 

12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 1 of 35

Case 3

FAX No. 570-321-2138 P. 020/025

12 AM SH HEALTH RECORDS

Z012/MON }1

PEB/27/

 

t 3° 1 e60a

 
 

1A]
b

‘LINSaY 2aswaigu
MCSHYSIGIGOR dad
(] '88WD SalHovas
{) idswo Iwlagas
Oo tke qaaraosawas

{) tatva Suravga

( 6G26211 '4WOL900 gaLaWaY

1G¥i5 os

460° 2002 eZ Gag taqeg paqrassuesy dd¢ '4q paqrraeuesy
eeversPaT a4 ATT eS puoIqoaTE SL INGG ener me
“O°R ‘TOWWYS Q LUGHOe AG ayy

“peqysosep se eyuownedd aseq buat azar PIF 89 93 918} S¥ Jeys STeasex uoTieuqueKs aaaqgo atgeqzog =‘ mMorssazanr

‘sauor Bunt prw yieq up iseferd Smopeua atddta qurez aq oa apey ase VEqK "AueeaId st butnbeyd syyzrstes UT BUTCTosun oue

VOFISIATTD Sti708 PITH ‘pablstue you ST 17884 2uL ‘be yuaunand ayerspou useq pry A[snotasad asaya auoz Buy 4y6rz zaddn 842 Ut JUuaseId se bepress
T#ise td pue TewAysuerag “dd03) J9 punozbyseq © uodn pesodatiadns 4geq Bune azat aq4 {TYIts efucuneud arqeqoid zo &ypoedo lewhysussed Aaeuoutod
BSCUTFOP-TTT ‘PTTW Steaaga srnoey GOGO 12 Ga 84} UT peuteqqa warieuTwexa Joerte-Tess gy aTqeqzcg sayeayg MaTA-3[Burg atTqejrog *MOTLWLISINT LRT

OTOZ/TZ/Ol i MosIuWdHnoa

“eyed asaya acyaaque PSPTE-3297 FeIeTas Juatied ayy “)eanbet sed uted TeUTeIUT 1s8uy i LYOLELH
O31 158¢5 <HYXZ yoga MosTay
BI‘ QaL3TdNOO AVX 2WIL ? J1vo
HO ITGWLaGd = (epzz cual "Awe
(LEGTOPS) INOESSA9O5y

‘AIS9a Ise

  
  

WYZS 56
LEGGOKS ff vorasaoay-

cTOzZ FE

   

eyvitodsy Teupdeny

- UFed Tetsayuy yseqy

O4TIS AOLHLVd SWKOHL :O1 sa1s03

48@L0 Wa ‘Yaga 3LIAM OuaLa AJIULWG SYWOHL iAWISEsiad OM CHadHS

Q0SZ XOG Gd ssay¥odgv ud w ixgsS LHSliwd ALE :a9w caglsed

Os6L-2h9 LOLSI t3WOKd Laarawd BeGt/OtseO THLuIE 40 Tava GIGCZASPOS 24 LESIA Jd
i iSSW1O DMSILVd 1069-39 =Hoay AMNIZLWINT ZtO2/b2/Z0 fdavq MOLSsIMOW

WRG 'NOILWLS 9SuNN GYO N ‘$8WwID IWIEOINWNIA aeSeecotog =f cHOOoaY

‘LTASSY NIoga

(} éLINSdy ILwawd3s ASLA TL L3SaHo FTAVLaAOd (Sa4aUS) (LEBgORS)

$70 [ Shag
Ka GO'l 2tazyez/zo teu, ausag
OGIGLMSA ATIWOINOMLOY Ta NESE SwH LeSHNOGG srag

 

 

edz be Gad ‘3Lvd YOa aaIuaCUO 4zZUPREZ #44007" TwOTdan
TQOCG +H8SBWNN MGOYO SWY ATHaCLSIHHS "THYNYAG ¢3HWK LNQELed

Terrdsoy yrodegerqtt rs

wajeds Gjteeq ecueyanbeag
INIWNIOG Linsay ADA TOLaWH

bat ziazsee/z 2ay- Q3IA L LSaHo @1sviwod Abotartpeye tolowa ZLOZ/e7/E TSM GdL ITSUZESbaS HOUT wy WaNaOISTAND Tannungs

 
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 2 of 35

Bureau of Prisons
Health Services

Cosign/Review

Inmate Name: FURNARI, CHRISTOPHER
Date of Birth: 04/30/1924 Sex: M
Scanned Date: 03/12/2012 1 1:52

Reviewed by Santos, Elizabete D.O., Clinical Director on 03/13/2012 08:33.

Bureau of Prisons - ALM

Reg #:
Race:

Facility:

19815-054
WHITE
ALM
FEB/27/2012/MON 11:11

Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 3 of 35

AM SH HEALTH RECORDS FAX No. 570-321-2138 P. 016/025

(F81S 65d

FURNARI, CHRISTOPHER A Enc# 6045821516 IPT MED 2/24/2012 LB0100 slaboratory Results Final Report 2/25/2012 1pg

Susquehanna Health System

 

 

 

 

 

t FURNARI, CHRISTOPHER
WILLIAMSPORT HOSPITAL Pationt MRN: 224129 Orgz:
777 RURAL AVENUE Visit ID: 9036792688 Location:
WILLIAMSPORT, PA 17701 Visit ext ID :6045821516 Sex: M

Patient Phone: 570-547-7950
Birth Date: 04/30/1924
570 321 2300 Copy To: DIS
Doctor; BURKE, THOMAS
CHEMISTRY
Test Reference Units of 02/24/2012 02/24/2012
Name Ran Measure 11:20 09:35 PF
NA 135-145 mmol/L 140 Ww
t
K 3.5-5.7 mmol/L. 41 W
4
cL 99-109 mmol/L 107 Ww
1
co2 20.0-31.0 mmol/L 28.3 W
1
Anion Gap 7-16 mmol/L 9 Ww
1
BUN 9-23 mg/dL 26 H W
1
CREAT 0,7-1.3 mg/dL 4.35 H W
4
=f
GFR Estimated > 60 mL/min 49.90 L y
GLUC 74-100 mg/dL 95 ¥
CALCIUM 8.7-10.4 mg/dl 9.3 :
MAG 1.3:2.7 mo/dL 2.1 y
CKMB 0.2-5.0 na/mb 1.7 "
TROPONIN I < 0,04 ng/mL < 0.01 0.010 :
=2= =2=
CK 32-294 UL 62 Ww
1
LDL-DIRECT mo/dL 33 :
aj= ah .
o n
={= Adult normal Est, GFR values are >60. Estimated GFR is not accurate and not calculated on adolescents and
children. Normal values and the caiculation of an estimated GFR are based on National Kidney Disease
Education Program. http:/Avww_nkdep.nih.gov
Final Report
FURNARI, CHRISTOPHER \ wont
Report as of 02/25/2012 02:01 \. Nile 7400 Page 1ofl
Se BOK 11281
winite De atsPA
Page 1 of 4

 
 

Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 4 of 35

FEB/27/2012/MON {1:11 AM © SH HEALTH RECORDS FAX No, 570-321-2138 P.017/025

 

IG81S-esd

FURNARI, CHRISTOPHER A Enc@ 6045821516 IPT MED 2/24/2012 LBO0100 eLaboratory Reaults Pinal Report 2/25/2012 Ipg

Susquehanna Health System

! FURNARI, CHRISTOPHER

 

WILLIAMSPORT HOSPITAL Patient MRN; 224128 Orgz:
777 RURAL AVENUE Visit ID: 9036792688 Location:
WILLIAMSPORT, PA 17701 Visit ext ID ;6045821516 Sex: M

Patient Phone: 570-547-7950
Birth Date: 04/30/1924

570 321 2300 f Copy To: DIS
Doctor: BURKE, THOMAS | =

=2= A cutoff of 0.78 ng/mL is recommended for diagnosis of acute myocardial infarct, Levels between 0.04 ng/mL and
0.78 ng/mL are borderline for clinical acute myocardial Infarct but do correlate with myocardial injury.
=3= LDL-DIRECT:
<100 mg/dL DESIRABLE
100-129 mg/dL NEAR TO ABOVE DESIRABLE
130-159 mg/dL BORDERLINE HIGH
160-189 mg/dL HIGH
7190 mg/dL VERY HIGH

 

Test Reference Units of 02/24/2012
Name Range Measure 09:35 PF
BNP 2-100 pg/mL, 74 Ww
1
=1l=
Comments

=1= >100 - SUGGESTS CONGESTIVE HEART FAILURE

©

al

oper

poe AY
a\¢ (\

 

 

Final Report yond

FURNARI, GHRISTOPHER ca. NE ca 4 ;

Report as of 02/25/2012 02:01 ¥0. BO a 188 Page 2 of 1
ge peat ;

Page ? of 4

 
 

Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 5 of 35
FEB/27/2012/MON 11:12 AM SH HEALTH RECORDS FAX No. 570-321-2138 P 018/025

[98IS-os4

FURNARI, CHRISTOPHER A Enc# 6045821416 IPT MED 2/24/2012 LBO10O eLabaratory Regults Final Report 2/25/2012 ipq

Susquehanna Health System
FURNARI, CHRISTOPHER

WILLIAMSPORT HOSPITAL Patient MRN: 224429 Orgz:
777 RURAL AVENUE Visit ID: 9036792688 Location:
WILLIAMSPORT, PA 17701 Visit ext ID :6045821516 Sex: M

Patient Phone: 570-547-7950
Birth Date: 04/30/4924

570 321 2300 ae Copy To: DIS
Doctor: BURKE, THOMAS

 

 

 

 

 

HEMATOLOGY
Test Reference Units of 02/24/2012
Name Range Measure 09:35 PF
WBC 4.0-11.0 THOU 8.0 w
1
RBC 4.2-5,.4 MIL 4.35 Ww :
1
HGB 13.0-17.0 G/DL 13.2 WwW
1
HCT 42.0-52.0 % 40.2 L WwW
1
MCV 81-96 CUMIC 92.5 Ww
1
MCH 26-33 pg 30.4 Ww
1
MCHC 32-36 CUMIC 32.8 Ww
1
RDW 11.0-15.0 % 13.9 Ww
1
PLT 160-375 THOU 217 Ww
1 ;
NE% 45-75 % 79,5 H W
1 r
LY% 20-45 % 13.5 L W j
, :
MO% 0-15 ‘ 6.2 WwW
1
EO% 0.7-5.2 % 0.4 Lk: Ww
1
BA% 0.0-1.5 Yo 0.4 Ww
1
NE# 1.7-6.7 # 6.3 WwW
1
LY# 1.1-3.3 # 1.1 Ww
1
MO# 0.1-1,6 # 0.5 Ww
4
EO# 0.0-0.5 # 0.0 WwW
1
BA# 0.0-0.3 # 0.0 w f
1 r
NRBC% 0 % 0.0 Ww |
Final Report
FURNARI, CHRISTOPHER oot
Report as of 02/25/2012 02:04 ‘Gi. Ne a. Page 3 of 1 |
0. KOR Vise
7 Tt eat Ph
yurvie BEN
Page 3 of 4

 
 

 

5
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 6 of 3

EB/27/2012/MON 11:12 AM SH HEALTH RECORDS PAX No, 570-321-2138 P. 019/095
IF.51S -osd

FURNARI, CHRISTOPHER 4 Enc# 6045821516 IPT MED 2/24/2012 LBO160 eLaboratory Reaulte Finel Report 2/25/2012 lpg

Susquehanna Health System

J FUR CHRIST:

WILLIAMSPORT HOSPITAL Patient MRN: 224129 Orgz:
777 RURAL AVENUE Visit ID: 903679268g Location:
WILLIAMSPORT, PA 17701 Visit ext ID :6045921516 Sex: M

Patient Phone: 570-547-7950
Birth Date: 04/30/1924

570 324 2300 Copy To: DIS

Doctor: BURKE, THOMAS

 

1

NRBC# 0 # 0.0 Ww
4

Test Reference Units of 02/24/2012

Name Range Measure 09:35 PF

PT 8.9-11.9 SECONDS 11.5 Ww

. st=

INR 0.7-1.18 1.1 Ww
4

APTT 22-34 SECONDS 25 Ww
4

Comments

 

 

Testing Performed at:
W1: WILLIAMSPORT HOSPITAL 777 RURAL AVENUE WILLIAMSPORT, PA 17701
DONALD LEATHERS, DIRECTOR CLINICAL LAB, MD

 

&
yt roo
ee
gis v
Final Report
FURNARI, CHRISTOPHER enword
Report as of 02/25/2012 02:04 C1, Avene 90 Page 4 of 1
PO. BOR 17887
white Dees

Fage 4 of ¢

 
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 7 of 35

Bureau of Prisons
Health Services

Cosign/Review

 

Inmate Name: FURNARI, CHRISTOPHER Reg #: 19815-054
Date of Birth: 04/30/1924 Sex: M Race: WHITE
Scanned Date: 03/12/2012 11:50 Facility: ALM

 

Reviewed by Santos, Elizabete D.O., Clinical Director on 03/13/2012 08:33.

Bureau of Prisons - ALM
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 8 of 35

FEB/27/2012/MON 11:10 AM SH HEALTH RECORDS FAX No. 570-321-2138 P, 012/025

9slS-os4

FURMARL, CHRISTOPHER A Enc# 6045821516 Tet MED 2/24/2012 CNO200 eTWH Consult Cosign 2/24/2012 ipg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Susquehanna Health Williamsport Hospital
HEALTH RECORDS
Name: | FURNARI, CHRISTOPHER A
NLR | 224129
Date of Birth: | 04/30/1924
Dictating Physician: | Scott C Rosenbanm, PA-C
Attending Physician: | Joseph P. Bering, M.D.
Room: | 6E 69701
Admit Date: | 02/24/2012
Discharge Date:
Encounter #: | 6045821516
CONSULTATION REPORT
Date: 02/24/2012 Ordering Physician: Thomas V. Burke, MD.

Seott Rosenbaum, PA.C dictating for Joseph P. Bering, MD.
ATTENDING PHYSICIAN: Thomas V. Burke, MD
CHIEF COMPLAINT: Chest pain.

HISTORY OF PRESENT ILLNESS: This is an 87-year-old male with known CAD with
history of PTCA and stent placement in the proximal to mid LAD in September
of 2006 who also has issues with hypertension, COPD, and multiple episodes
of pneumonia who reported here from the Lewisburg Federal Penitentiary due
to chest pain, The patient reports that around 11 o'clock last night he
developed chest pain. This lasted and was pretty much unrelenting for 5

hours. He had no other symptoms associated with his chest pain. This

chest pain was on the left side of his chest and did not radiate anywhere.

He denies having any problems with excessive fatigue, palpitations,

shortness of breath, dyspnea on exertion, orthopnea, PND, wheczing,
abdominal pain, heartburn, indigestion, nausea or vomiting, lower extremity
edema, dizziness, lightheadedness, or syncape. The paticnt has also been
having a cough for approximately 2 months.

The patient took 5 nitroglycerin of his own without relief of his chest
pain. Apparently, the patient went to the infirmary at the prison and was
givén 2 more nitroglycerin and did notice some relief. By the timc the
patient arrived in our emergency department, he did not have pain. He
reports that there was nothing that exacerbated or alleviated his pain.

This did come on while he was lying down. The patient says that his pain
was 10/10 at that time.

PAST MEDICAL HISTORY: CAD, anterior apical wall MI, hypcrlipidcmia,
hypertension, COPD, BPH, DJD, GERD, and history of positive PPD.

PAST SURGICAL HISTORY: PTCA and stent placemeat in September of 2006.

 

FAMILY HISTORY: Noncontributory.

SOCIAL HISTORY: The patient is incarcerated at the Lewisburg Federal
Penitentiary. He is a former heavy smoker but has stopped. He does not

Page 1 of 4

Page L of 4

 
 

Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 9 of 35

FEB/27/2012/MON 11:10 AM SH HEALTH RECORDS

FORNARI, CHRISTOPHER A Racé 6045821516 IPT MRD 2/24/2012

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Susquehanna Health Williamsport Hospital
HEALTH RECORDS
Name: | FURNARI, CHRISTOPHER A
M.R# | 224129
Date of Birth: | 04/30/1924
Dictating Physician: | Scott C Rosenbaum, PA-C
Attending Physician: | Joseph P, Bering, M.D.
Room; | 6E 69701
Admit Date; | 02/24/2012 |
Discharge Date:
L Encounter #: | 6045821516 |
use alcoho) or illegal drugs.

CURRENT MEDICATIONS: In the hospital:

Colace 100 mg twice a day.
Doxazosin 4 mg at bedtime.

Finasteride 5 mg daily.

Lisinopril 20 mg daily.

Famotidine 20 mg twice a day.

Albuterol HFA 180 meg 4 times a day.
Albuterol/ipratropium 2 puffs 4 times a day.

Fondaparinux 2.5 mg subcutaneausly every 24 hours.
Isosorbide mononitrate 30 mg twice a day.

FAX No, 570-321-2138

19g'S-0s4

NO200 eTWH Consult Coadgn 2/24/2012 ipg

SM PN AM AW De

. Metoprolol tartrate 25 mg twice a day.
li.
12.

Mometasone 220 mog 440 meg inhaled cach evening.
Simvastatin 40 mg at bedtime.

ALLERGIES: No known diagnosed allergies,

REVIEW OF SYSTEMS: A complete 10-point review of systems was performed on

this patient. Please sec the HPI for al] pertinent positive and negative

review of systems.

PHYSICAL EXAMINATION: GENERAL: This is an elderly white male in no apparent
distress. He appears well nourished and well developed. VITAL SIGNS:
Temperature 36.9, pulse 65, respiratory rate 22, O2 saturation 100% on aL,
blood pressure 154/74. HEFNT: NCAT. EOMI. Sclerae are anicteric, Oral

mucosa was moist, Throat was benign. NECK: Supple without thyromegaly or

bruits. Carotid pulses were equal bilaterally at 2r, HEART: Regular rate

and rhythm without murmur, rub, or gallop, $1 and $2 appeared to be &
normal, No lifts, heaves, or thrills were noted. LUNGS: With bilateral LP oH
expiratory wheezes. These were scattered throughout all lung fields. No w e \\
consolidation was noted. ABDOMEN: Soft and nontender without rebound, cy Qe ye
guarding, or organomegaly. No bruits were noted. EXTREMITIES: Peripheral % Dak

pulses were mildly diminished in the lower extremities at 1+. The upper 2B

extremities appeared to be normal at 2+. There was no peripheral edema. we

SKIN: Warm and dry without significant rashes or lesions.

EKG: Sinus rhythm with a rate of 70 beats per minute, first-degree AV
bleck, probable left atrial abnormality, borderline R-wave progression in

the anterior leads.

LABORATORIES; The patient has had cardiac enzymes drawn since his
admission. His troponin is less than 0.01 with a CK of 62 and CK-MB of
1.7, The patient's renal function is somewhat diminished from previous

Page 2 of 4

Page 2 of 4

P, 013/025

 

 

 
 

 

Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 10 of 35

PEB/27/2012/MON 11:10 AM SH HEALTH RECORDS PAX No, 570-321-2138

19815-0s4

FURMARI, CHRISTOPHER A Ract 6045821516 Ipr MED 2/24/2012 CNO200 efwH Consult Coaign 2/24/2012 ipg

Susquehanna Health Williamsport Hospital
HEALTH RECORDS

 

 

Name: | FURNARY, CHRISTOPHER A
M.RA# | 224129
Date of Birth: | 04/30/1924
Dictattng Physician: | Scott C Rosenbaum, PA-C
Attending Physician: Joseph P. Bering, MD.

Room: | 6B 697 G1

Admit Date; | 02/24/2012
Discharge Date:
Encounter #: | 6045821816

 

 

 

 

 

 

 

 

 

 

 

 

Lt Lt |

use alcoho] or illegal drugs,
CURRENT MEDICATIONS: In the hospital:

Albuterol HFA 180 Meg 4 times a day,
AlbnterolApratropium 2 paffs 4 times a day.

Colace 100 me twice a day.

Doxazosin 4 mg at bedtime,

Pamotidine 20 Mg twice a day.

Finasteride 5 mg daily.

Fondaparinux 2.5 mg subcuteneously every 24 hours.
Isosorbide mononitrate 30 mg twice a day,

Lisinopril 20 mg daily,

10. Metoprolol tartrate 25 Tag twice a day.

11. Mometasone 220 meg 440 mog inhaled cach evening.
12. Simvastatin 40 mg at bedtime.

SORA AM Aw PE

ALLERGIES; No known diagnosed allergies.

and rhythm without murmur, rub, or Ballop. $1 and S2 appeared to be &d
normal. No lifts, heaves, or thrills were noted. LUNGS: With bilateral ie as
expiratory wheezes. These were scattered throughout ali lung fields. No wv ie
contolidation was noted. ABDOMEN: Soft and nontender without rebound, Sie ve
guarding, or organomegaly. No bruits were noted. EXTREMITIES. Peripheral OL

Pulses were mildly diminished in the lower extremities at 1+. ‘The upper ae

extfemitics appeared to be normal at 2+, There was no peripheral edema. we

SKIN: Warm and dry without significant rashes or lesions,

EKG: Sinus rhythm with arate of 70 beats per minute, first-degree AV
block, probable left atrial abnormality, borderline R-wave progression in
the anterior leads,

LABORATORIES: The patient has had cardiac enzymes drawn since his

admission. His troponin is legs than 0.01 with a CK of 62 and CK-MB of

1.7. The patient's renal function is soméwhat diminished from previous
Page 2 of 4

 

Page 2 of 4

 

 

 
 

 

Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 11 of 35
FEB/27/2012/MON ll:1] AM SH HEALTH RECORDS FAX No, 570-321-2138 P. 014/025

I1315-os

PORNARI, CHRISTOPEER A Enc# 6045821516 rpp MED 2/24/2012 croz00 TWA Consult, Cosign 2/24/2012 lpg

 

 

Susquehanna Health Williamsport Hospital
HEALTH RECORDS
Name: FURNARI, CHRISTOPHER A
M.R# | 224129

 

Date of Birth: | 04/30/1924
Dictating Physician: | Scott C Rosenbaum, PA-C
Attending Physician: Joseph P. Bering, M.D.
Room: | 6E 697 01

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Admit Date: | 02/24/2012 _ |
Discharge Date:
Encounter #: | 6045821516 |
admissions. His RUN js 26 with creatinine of 1.35 and GFR estimated at
49,90,
ASSESSMENT:

1. Chest pain that is not cardiac in nature. The patient had 5 hours of
unrelenting chest pain without EKG changes or cardiac enzymes
elevations. The patient is currently pain free. This is not an
indication of acute coronary syndrome (ACS) or ischemia,

2. Coronary artery disease (CAD) with history of percutaneous transluminal

catheterization was done on March 14, 2007, and was within normal
limits,

3. Chronic obstructive pulmonary disease (COPD), which appears to be Stable
at this time. The patient has had a cough for approximately 2 monthe.

4, History of multiple admissions for pneumonia in the past with an episode
of methicillin-resistant Staphylococeus aureus (MRSA) sepsis with
pheumonia.

5. Hypertension, which is not optimally controlled at this time.

RECOMMENDATIONS: The patient was seen and discussed with Dr Bering today.
With the length of time that the patient was having chest pain and no EKG

changes or cardiac enzymés ¢levations, this is not acute coronary syndrome

or ischemia. I would not recommend any further cardiac testing on this

patient. At this point, we would recommend optimally controlling the

patient's hypertension ag well as his other medical problems.

Thank you for allowing us to Participato in this patient's care.

 

Scott C Rosenbaum, PA-C

Joseph P. Bering, M.D.

SCR/opt

Dictating Physician: 301316/Other Physician: 208009
Dictated Date: 02/24/2012 1:35 Pp 000026390
Transcribed Date: 02/25/2012 1:5] B 1047947

ce: Thomas V, Burke, M.D.

 

Page 3 of 4

Page 3 of 4

 

 

 
 

Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 12 of 35
PEB/27/2012/MON {1:11 AM SH HEALTH RECORDS FAX No, 570-321-2138 P. 0! 15/025

 

 

Susquehanna Health Williamsport Hospital
HEALTH RECORDS
Name: | FURNARI, CHRISTOPHER A
MLR# | 224129

 

Date of Birth: | 04/90/1924
Dictating Physician: | Scott C Rosenbaum, PA-C
Attending Physician: Joseph P, Bering, M.D.
Room: | 6& 697 61
Admit Date: 02/24/2012
Discharge Date;
Encounter #: | 6045821516 _|

 

 

 

 

 

 

 

 

 

 

Scott C Rosenbaum, PA-C

Signed by ROSENBAUM, SCOTT C P.A, on 27-Feb-2012 08:40:40 -05:00

 

: ie ud
lj
SX A
Sy ©
eye
Page 4 of 4 HW ge
@ ee

Page 4 of 4 Re

 
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 13 of 35

Bureau of Prisons
Health Services

Cosign/Review

 

Inmate Name: FURNARI, CHRISTOPHER

Reg #: 19815-054
Date of Birth: 04/30/1924 Sex: M Race: WHITE
Scanned Date: 03/12/2012 11:49 Facility: ALM

 

Reviewed by Santos, Elizabete D.O., Clinical Director on 03/13/2012 08:34.

Bureau of Prisons - ALM
 

Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 14 of 35

PEB/27/2012/MON 11:09 AM © SH HEALTH RECORDS FAX No, 570-321-2138 P, 009/025

AYiS- es

Susquehanna Health Williamsport Hospital
HEALTH RECORDS

 

Name: | FURNARI, CHRISTOPHER A
M.R.# | 224129
Date of Birth: | 04/30/1924
Dictating Physician: | Thomas V. Eurke, M_D.
Aftending Physician: | Thomas V. Burke, MD.
Room: | 62 697.0]
Admlt Date; | 02/24/2012
Discharge Date:
Encounter #: | 6045821516 |

 

 

 

 

 

 

 

 

 

 

 

HISTORY AND PHYSICAL EXAMINATION
This 87-year-old man is admitted with chest pain.

HISTORY OF PRESENT ILLNESS: The paticat has a history of coronary artery
discase. In 2006 he had an acute anterior wall myocardial infarction for
which he underwent angioplasty and stent placement in the left anterior
descending _ He was re-admitted in 2007 at which time he again had chest
pain with cardiac catheterization which showed the stents were opened with
Ro significant obstructive coronary disease. A subsequent admission in
2008 was for a left lower lobe pneumonia successfully treated. Another
admission in August 2010 was also for pneumonia which resolved with
antibiotic therapy. Video bronchoscopy was performed at that ime and he
did have MRSA, sepsis with the Pneumonia, He has done well since that
admission until the evening before this admission when he experienced the
onset of precordial sharp pain which occurred before he went to bed. He
was able to doze off and on during the night. He had taken a tonal of five
nitroglycerin over night with only marginal improvement in the pain, He
then went to the prison infirmary where he received two additional
nitroglycerin with good pain relief. By the time he arrived in the
cmergency room he was pain free, He did not feel short of breath. He was
not diaphoretic. He did not have nausea or vomiting, He did not feel
dizzy or lightheaded. He has chronic venous insufficiency for which he
Wears Support stockings. He hag not been having chest pains and has not
required nitroglycerin before the current episode,

PAST MEDICAL HISTORY: His past medical history is sipnificant for coronary
artéry disease as noted. He has prostatic hypertrophy, hypertension and

COPD, He has had the previous pneumonias and methicillin-resistant staph
Burcus sépsis also as noted above, He has COPD. He is known to be PPD
positive but has never had chemotherapy for TB,

SOCTAL HISTORY: He is incarcerated in federal prison. He had been a heavy
cigarette smoker until 18 years ago when he quit,

FAMILY HISTORY: Family history i noncontributory.

 

REVIEW OF SYSTEMS: Review of systems is negative for recent significant
weight change. He has not been having fevers or chills, Cardiovascular ag

Page 1 of 3

Pagé 1 of 3

 

 
 

 

Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 15 of 35
FEB/27/201 2/MON 11:03 AM SH HEALTH RECORDS FAX No, 570-321-2138 P. 010/025

 

 

 

Susquehanna Health Williamsport Hospital
HEALTH RECORDS
= Name: | FURNARI, CHRISTOPHER A
MR# | 224129

 

 

Date of Birth: | 04/30/1924
Dictating Physician: | ‘Thomas V. Burke, M.D.
Attending Physician: Thomas V, Burke, M.D.

Room: | 6E 69701

Admit Date: | 02/24/2012
Discharge Date:
Encounter #: | 6045821516 _|

 

 

 

 

 

 

 

 

 

in the HPI. Respiratory: He does have a cough productive of scant amounts
of white sputum. He has not been increasingly short of breath.
Gastrointestinal: Negative for reflux. He has no history of ulecrs. No
significant bowel problems. Genitourinary: Negative for renal stones or
kidney infections. He does have Prostatic hypertrophy but is able to pass
urine without difficulty.

Endocrine: He is not diabetic. He has no thyroid history.
Musculoskeletal: Negative for Significant arthritis. Neurologic: He has
no history of strake or seizure seen. He has no history of anemia or easy
bleeding or bruising. Psychiatric: Negative for anxiety or depression.
Skin: Negative for rash. The remainder of review of systems is negative,

PHYSICAL EXAMINATION: General: On exam he is a well-developed,
well-nourished man who is lying comfortably semirecumbent in bed, He is
awake, alert and oriented.

Vital signs: Temperature is 36.6, Heart rate 72 and regular, respiratory
Tate 20, blood pressure is 140/70, hemoglobin saturation on oxygen at 2
liters per minute is 95%

HEENT; Head is hormocephalic. Eyes: Extraocular muscles are intact.
Conjuactiva is clear. Nose is Straight. Pharynx is without erythema or
exudate. Oral mucosa is moist and intact. Tongue ig not enlarged.

Neck: He is without IVD_ Trachea is midline. Cervical and
supraclavicular adenopathy is negative. There is no thyromegaly.

Lungs: Lungs are resonant to percussion with somewhat diminished breath
sounds bilaterally but are clear to auscultation.

Heart; Heart is regular, There are no gallops, murmurs or rubs. First
and second heart sounds are normal.

Abdomen: Abdomen is quiet and soft There are no masses, no organomegaly.
Extremities: Extremities are without clubbing, cyanosis or edema. There

is no joint swelling or tendemess.

Neurologic: Thore are no focal deficits.

LABORATORY DATA: Chest radiograph shows scarring in the right upper lobe
and perhaps in the left lower lobe as well but is improved from chest

radiograph in 2010, EKG does not have acute changes and is not
Page 2 of 3

 

Page 2? of 3

 

whe qirene +

Siac nL tee
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 16 of 35

PEB/27/2012/MON 11:10 AM SH HEALTH RECORDS

FAX No, §70- 321-2138
(415-054

P. 011/025

FURNARI, CRAISTOPBER A Enc# 6045821516 IPT MED 2/24/2012 HPQ106 eTHER History and Physical 2/24/2012 ipg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Susquehanna Health Williamsport Hospital
HEALTH RECORDS
Name: FURNARI, CHRISTOPHER A
M.R.# | 224129
= Date of Birth: | 04/30/1924
Dictating Physician; | Thomas V, Barke, M.D.
Attending Physician: | Thomas V. Burke, M.D,
Room: | 6E 697 01
Admit Date: | 02/24/2012
Discharge Date;
Encounter #: | 6045821516

 

 

 

Significantly different from a cardiogram of June 2011, blood urea nitrogen

is 26, creatinine 1.4, calcium 9.3 {roponin 0.01, hemoglobin 13.2, white

count 8.0, platelets 217,000,

ASSESSMENT:

Prostatic hypertrophy.
History of positive PPD.

Me Se Se BS

PLAN: Will Tepcat cardiac enzymes, monitor,

nitrates as needed.

Chest pain perhaps acute coronary syndrome.
History of coronary artery disease.
Chronic obstructive pulmonary disease.

Thomas V. Burke, M.D.

TVB/scf

Dictating Physician: 201004/Other Physician:
Dictated Date: 02/24/2012 10:34 A 000026118
Transcribed Date: 02/24/2012 11:06 A 1047778

cc: Thomas V. Burke, M.D.

Page 3 of GZ

&
at
a 3 \\
i
“ Sor As
ne

<

Page 3 of 3

consult cardiology, treat with

ae so “ oth

oa ne

 
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 17 of 35

Bureau of Prisons
Health Services

Cosign/Review

 

Inmate Name: FURNARI, CHRISTOPHER Reg #: 19815-054
Date of Birth: 04/30/1924 Sex: M Race: WHITE
Scanned Date: 03/12/2012 11:48 Facility: ALM

 

Reviewed by Santos, Elizabete D.O., Clinical Director on 03/13/2012 08:34,

Bureau of Prisons - ALM
 

Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 18 of 35

MAR/O1/2012/THU 10:33 AM © SH HEALTH RECORDS

a

FAX No, 570-321-2138

Raingear reine

P. 012/055
4g!5 dSYy

FURNARI, CHRISTOPHER A Enc# 6045821516 IPT MED 2/24/2019 DS0100 etwH Diacharge Summary 2/24/2012 ipg

 

 

 

 

 

 

 

 

 

 

 

 

 

Susquehanna Health Williamsport Hospital
HEALTH RECORDS
Name: | FURNARI, CHRISTOPHER A
M.R# | 224129
Date of Birth: | 04/30/1924 es
Dictating Physician: | Thomas ¥. Burke, M.D.
= Attending Physician: | Thomae V. Burke, M.D,
Room; | 6E 69701
Admit Date: | 02/24/2012
Discharge Date: | 02/24/2012 |
Encounter 4: | 6045821516
DISCHARGE SUMMARY

REASON FOR ADMISSION: This 87-year-old man is admitted with chest pain.

For details of the admission, see the History and Physical dictated earlier

today,

ADMITTING DIAGNOSES:

Chest pain, acute coronary syndrome.
Renal insufficiency.

Hypertension.
Gastroesophageal (GE) reflux,

SR es

Chronic obstructive pulmonary disease (COPD).

HOSPITAL COURSE: The patient was admitted to a monitored bed. Initial

cardiac enzymes were negative. He was seen in consultation by Cardiology,
The previous cardiac catheterization films were reviewed by Cardiology. It
was felt that this did not represent angina or chest pain of coronary

origin. The patient is being discharged back to the prison for followup at
the prison infirmary. It is noted that his creatinine is mildly elevated

at 1.35 with BUN of 26. These were 13 and 0.92 respectively in August of

2010. He is discharged in good condition.

DISCHARGE DIAGNOSES:

1. Chest pain of musculoskeletal origin.

 

om
cof wor"
For", [elt

2, Chronic obstructive pulmonary disease (COPD).

3. History of coronary artery disease,

Page 1 of 3

Page 1 of 3

 

 
 

19 of 35
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page

 

 

 

MAR/O1/2012/THU {0:33 AM SH HEALTH RECORDS FAX No, 570-321-2138 P. 013/055
—
FURNARI, CHRISTOPHER 2 Enc# 6045821416 rer wep 2/24/2012 nao0l100 eTWH Discharge Summary 2/24/2012 lpg
Susquehanna Health Williamsport Hospital
HEALTH RECORDS
[ Name: | FURNARI, CHRISTOPHER A
M.R# | 224129

 

 

Date of Birth: | 04/30/1924
Dictating Physician; | Thomas Y. Burke, M.D,
Attending Physician: | Thomas V. Burke, M.D.
Room: | 6E 69701
Admit Date: | 02/24/2012
Discharge Date: | 02/24/2012
Encounter #; | 6045821516

 

 

 

—__—_______|

 

 

 

 

4. Gastroesophageal (GE) reflux,
3. Renal failure,

§. Prostatic hypertrophy.

 

DISCHARGE MEDICATIONS:

Albuterol MDI 2 puffs QUD.
Combivent 2 puffs OID.
Colace 100 mg BID,
Cardura 4 mg at bedtime,
Ranitidine 150 mg BID,
Proscar 5 mg daily,

Imdur 30 mg BID,

Pninivil 20 mg daily,
Lopressor 25 mg BID,
Simvastatin 40 mg at bedtime,
. Fluticasone 2 puffs BID,

Hr OPP ANAM aon WH

a

 

wo
RECOMMENDATIONS: Repeat BMP in a week to follow the BUN and creatinine, M ‘ ie"

ce: *Lewisburg Federal Penitentiary
Page 2 of 3

Page 2 of J

 

 

 
 

Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 20 of 35

 

MAR/Q1/2012/THU 10:33 AM SH HEALTH RECORDS FAX No. 570-321-2138 P. 014/055

.

FORNARI, CHRISTOPHER A Enc# 6045871516 IPT MED 2/24/2012 ps0100 erwa Discharge Summary 2/24/2012 lpg

Susquehanna Health Williamsport Hospital
HEALTH RECORDS

 

Name; | FORNARI, CHRISTOPHER A
MLR# | 224129
Date of Birth: | 04/30/1924
Dictating Physician: | Thomas V. Burke, M.D.
| Attending Physician: | Thomas V. Burke, M.D.
Room: | 6% 697 01
Admit Date: | 02/24/2012
Discharge Date: | 02/24/2012
Encounter #: | 6045821516

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Thomas V. Burke, M.D.

TVB/opt

Dictating Physician: 201004/ Other Physician:
Dictated Date:02/24/2012 2:35 P 000026507
Transcribed Date: 02/27/2012 11:02 A 1048067
cc: Thomas V, Burke, M.D.

D Copy

Signed by BURKE, THOMAS V. M.D. on 27-Feb-2012 14:11:38 -05:00

Pags 3 of 3

 

Page 3 of 3
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 21 of 35

Bureau of Prisons
Health Services

Cosign/Review

 

Inmate Name: FURNARI, CHRISTOPHER Reg #: 19815-054
Date of Birth: 04/30/1924 Sex: M Race: WHITE
Scanned Date: 03/12/2012 11:43 Facility: ALM

 

Reviewed by Santos, Elizabete D.O., Clinical Director on 03/13/2012 08:34.

Bureau of Prisons - ALM
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 22 of 35

 

Urea’ Nitrogen" Pome

 

        
 
  
 
   
 
 

   

03/02/12 02:49 PH CST SFP! via VSI-FAX $0 Fage a of 2. een aean its
ce ae ee a wa _ |
i we i 4 . : ie My { ‘y : : : : & : eh,
: 0,8. or CENTERS FOR vio Pitdgmms, |
z be ratory, : 4906 Ways

SPRINGFIELD, ’ "MISSOURI: ‘se608,
: Pt (427). 86277044

 

 

 

 

 

 

 

7 wik w

hg i \
Register Number : 19815- 054 a
‘Name |; og  .FURNA
‘Location + ay FCT, :

 
  
    

 

Admit .: “Dave leds PBOWANDA'.B
‘Order’. Physician:’ P
Gi ‘Collected = -

teat! a ve, ¥ Result | “4 i
 BASTC METABOLIC .

: ‘Glucose! (i t: 86 ‘, a

  

: Sreatiaae TDMS - 1. 20%, * ra Sa
“OR hs oe St Tey ate
oR GF { GFR units: meagilrad| as mL\mig\ i

Bee at mes

   

   

io gt. ;
ee African Aineyican,* mana
: a 4 A caldvlated; ; Ss ce meets 7
sg Ei kidney digease
pericd. i. wn
SodiumI . 143 : ik
Potassium y 4.6 :
Chloridel . 107
Calejuml- = 9.4
ak
age -
4 ‘a
to ee
Aha hi ad
tg Deg oe,
11887
- Legend

Lo=Low ALeAlane Low) HIsHigh Alara Kigh
EL=Legs: than clinicaliy Repertable Rmige.
‘ BHeGreater’ chan Cliniearay Reportable Range '"./°

eas 1
rcs

Name | * r: Tye
Regietsk Nuthber : 29815- “oes
Printed ‘ : 03/02/2012 @ @ 14:
Be _¥
: a
i : ly
1 t

 
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 23 of 35

Bureau of Prisons
Health Services

Cosign/Review

 

Inmate Name: FURNARI, CHRISTOPHER Reg #:
Date of Birth: 04/30/1924 Sex: M Race:
Scanned Date: 03/05/2012 12:39 Facility:

19815-054
WHITE
ALM

 

Reviewed by Santos, Elizabete D.O., Clinical Director on 03/05/2012 14:39.

Bureau of Prisons - ALM
5
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 24 of 3
, / tee

| Boe ee [93 (5 O54
PHYSICIAN SPECIAL CARE INSTRUCTIONS

 

Discharge

Date: —— ——lime O See Discharge medication instructions.

pcharged , oe O See Pre-printed Physician Discharge
= = ~— | Instructions

 

 

PATIENT CARE INSTRUCTIONS : oun
O See pre-printed instructions Bathing Allowed © No restrictions

5 O Shower Tub Bath Os th
O See Discharge Instructions — Referral Form 0 none Ga

 

 

 

O See Discharge Instruction — Nursing Care Plan Activity Allowed © No Restrictions

® Do not smoke tobacco (cigarettes, cigars, or O Sitting O Driving 0 Stairs O Exercise
pipes) or use smokeless tobacco (chew or O Sexual Activity
snuff). Tobacco hurts your health, Even being O Weight Bearing Status _
near someone who smokes hurts your health. O Do Not Lift Over pounds

Tobacco hurts your lungs, heart, blood vessels,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

and brain. Tobacco keeps wounds from healing | May Return to Wor
well,
If you smoke and would like to quit, we want to help | Diet: O As Tolerated
you! Call: 1-800-264-1290 for more information. O ee
EQUIPMENT / SUPPLIES Other Instructions:
we St oreoneneneumeede __
San ee — Keep vaccine and medication records up to date
COMMUNITY RESOURCES e e
oe ee ss APPOINTMENTS / OUTPATIENT SERVICES
= _ psoas It is very important for you to make / keep the
_ — _ following appointment(s) with your doctor:
NUTRITION CARE INSTRUCTIONS
pa eg
RN Signature
Date

 

 

 

 

sit tt
iw
Physicia Signature: V4
Le

Patient Signature: rn
9 ° Date 2/2+//'- Time
- ;

 

 

 

 

 

 

 

 

Date Time____
a 516 was
SUSQUEHANNA HEALTH Furnari, Christophe
{] Divine Providence Hospital [] Muncy Valley Hospital ie Adm IP M
(} Williamsport Hospital Fake. Thomas V,MD — 87Y
Discharge Instructions- Physician Plan of Care AURAL LALA
Page 1 of 1

rn site

*DS0111"

 

 

~ knee reagan

 

tee ae.
 

; 5 of 35
Filed 11/29/12 Page 2
; - -WJN-DB Document 6
Case 3:12-cv-02378-W i cl aes
1 $15 -o54
00 15 44 010 #5266

Rev 608 barcode rev 39

 
    

Comments

 

 

|
ee >
tl

"ile nema cc

 

 

 

 

 

 

 

 

 

Physician
So

Discussed with patient the importance of Maintaining a current list of medications

 

 

 
   
 
   

Personal Medication Record given
Medication €ducation needs met
Instructions discussed with patient. Patient verbalizas understanding

   
         
 
 

AFTER REVIEW AND DISCUSSION, PATIENT/SIGNIFICANT OTHER VERBALIZES UNDERSTANDING OF
DISCHARGE INSTRUCTIONS AND RECEIVES A SIGNED Copy,

 
 

 

 

      

 

 

 

 

 

SUSQUEHANNA HEALTH

{] Divine Providence Hospital J] Muncy Valley Hospital
0 Williamsport Hospital

Discharge Instructions- MEDICATIONS
Page 1 of 1
EC.) Allenwood

CM eS

01

ten aie a

2A ok orem
 

35
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 26 of
. - ee

Pt. Name: Furnari, Christopher A

DOB 04/30/1924

Allergies:

Attending Doctor

No Known Drug Allergies

[a415-084

Discharge Medication Instructions

NursingUnit:

Burke Thomas VY

6E MR# 224129

Primary Care Doctor Allenwood Dr

****Continue medications listed below - do not continue medications that are crossed off
Discard any medications at home that are not on this list

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Current Medication Dose aute frequency ext dose dug What drug is for or Comments New
Med
ALBUTEROL HFA 180MCG INHALATION FOUR TIMES A DAY
(VENTOLIN HFA)
ALBUTEROLAPRATROP 2PUFF INHALATION FOUR TIMES A DAY
1uM i
(COMBIVENT)
AMIODARONE 150 100 ML INTRAVENOUS ONE TIME AS j
MGi100 ML NEEDED FoR i
(NEXTERONE 150 PERSISTENT
MG/100 ML) V-TACGH
DESPITE LIDO
ASPIRIN BABY 81MG BY MOUTH ONCE DAILY
ATROPINE 05MG INTRAVENOUS AS NEEDED
FOR HR<60,
SYMPTOMATIC
HYPOTENSION
DEXTROSE 5% WATER 500 ML INTRAVENOUS AS NEEDED Za
{NON-DEHP) 600 MG FOR
(DSW (NON-DEHP) PERSISTENT
AMIODARONE IV V-TACH
(CORDARONE |v) DESPITE LIDO
DOCUSATE NA 100MG BY MOUTH TWICE A DAY
(COLACE)
DOXAZOSIN" 4MG BY MOUTH AT BEDTIME
(CARDURA’)
FAMOTIDINE 20MG BY MOUTH TWICE A DAY
(PEPCID)
FINASTERIDE 5MG BY MOUTH ONCE DAILY
(PROSCAR)
FONDAPARINUX 2. 5MG SUBCUTANEOUS EVERY 24 HOURS
(ARIXTRA} :
ISOSORBIDE 30MG BY MOUTH TWICE 4 DAY F
MONONITRATE i
(IMDUR) :
LIDOCAINE 2% 100MG INTRAVENOUS AS NEEDED :
(LIDOCAINE 2% FOR 20 BEATS
(ABBOJECT)) OF SUST VT :
>/=120 r
RN: Date: Time:
eae
! have reconciled current patient medications with the home medication ist
Physician: Date: Time:
f\ Pan rn
a" oe r
SUSQUEHANNA HEALTH ° one c }
£,
—Divine Providence Hospital____ Muncy Valley Hospital The Wiiamsport Hospital We Ay’ \ i
Y
Discharge Medication instructions
Print Date/Time: 22ai2012 248 pm Ot Alienwood Page 1 of 3
PO. Box 2500 Cc
White Deo, PA 17887 0 |)
 

C m i 35
ase 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 27 of
, : : i Sn tee
19315

Discharge Medication Instructions
Pt Name: Furnari, Christopher A NursingUnit: 6E MR# 224129

DOB 04/30/1924 Attending Doctor Burke Thomas V Primary Care Doctor Allenwood Dr
Allergies: No Known Drug Allergies

****Continue medications listed below - do not continue medications that are crossed off
Discard any medications at home that are not on this list

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Current Medication Dose oute Frequency xt dose due What drug is for or Comments New
Med
LIDOCAINE/5% 250 ML NTRAVENOUS — AS NEEDED
DEXTROSE FOR 20 BEATS
(LIDOCAINE 1 OF SUST vT
GMID5W 250ML) >/>120
LISINOPRIL* 20MG BY MOUTH ONCE DAILY
(PRINIVIL") j
METOPROLOL 25MG BY MOUTH TWICE A DAY
TARTRATE*
{LOPRESSOR*) a
MOMETASONE 220 440MCG INHALATION EVERY EVENING {
MCG
{ASMANEX 220 MCG)
morphine 2MG INTRAVENOUS AS NEEDED
(MORPHINE*) FOR CHEST
PAIN
SIMVASTATIN 40MG BY MOUTH AT BEDTIME
(ZOCOR)
SODIUM CHLORIDE 500 ML INTRAVENOUS AS NEEDED
0.9% (FS) FOR SBP < 100 E
(NSS (FS)) E
TITRATE DRIP TITRATE INTRAVENOUS AS NEEDEO
FOR LIDOCAINE
TITRATE DRIP TITRATE INTRAVENOUS AS NEEDED
FOR
AMIODARONE
.

 

To oe

 

Date: Time:
! have reconciled current patient medications with the home medication fist
Physician: Date: Time:
—________

 

 

 

e |

peo

SUSQUEHANNA HEALTH anv08

oe e Os fo
— Divine Providence Hospital —_—_Muncy Valley Hos, ital____The Williamspart Hos ital ; . ' F
" ‘ " CL Alienwocd “ed Avil
Discharge Medication Instructions |PO. Box 2500

Whife Deer, PA 17887 :

 

Print Date/Time: 2/24/2012 2:48 pm Page 2 of 3

 
a a tle

 

Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 28 of
. - - ee

Discharge Medication Instructions
Pt.Name: Furnari, Christopher A NursingUnit: 6E MR# 224129

DOB 04/30/1924 Attending Doctor Burke Thomas V Primary Care Doctor Allenwood Dr

Allergies: No Known Drug Allergies
Current Medication Dose | Route requency Next dose due What drug is fo Comments New

 

Mad

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check All That Apply:
Discussed with Patient the importance of Maintaining a current tist of medications
Discussed with patient the need to discard any medications at home that are no longer being continued
Personal Medications Record given
Medication Education needs met

Instructions discussed with patient. Patient verbalized understanding

Patient Unable to sign or verbalize understanding. Reason
Form placed in a Sealed envelope and sent with Correctional Officer/Attendant

 

 

 

 

 

Flu Vaccine ReceivedOn: Pp I Vaccine Rece; rs
neumococcal Vaccine eceived On:

PatientResponsible Party Signature Date/Time:
ee Sse ect
End Of Patient Report

Place Original Document in permenant record
s Wélekdice
Attach copy to discharg Treferrai form
ee

 

on

e instruction or transfe
Provide copy to Primary care physician

Attach a copy to Phone callfollow-up paperwork
ee

Sem

RN: Date: Time:
ee aes bce sesany

! have reconciled current patient medications with the home medication fist
Physician: Date: Tine:
s

 

 

 

 

 

%
%

SUSQUEHANNA HEALTH . E C. Allanw 00 d , si
The Williamsport Hospital P Box 250 0 x1
ite Peer, PA 17887

Discharge Medication Instructions

 

ag

Divine Providence Hospital _Muncy Valley Hospital

 

 

 

 

Print DaterTime: 2/24/2012 2:48 pm Page 3 of 3 E

 
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 29 of 35

Bureau of Prisons
Health Services

Cosign/Review

 

Inmate Name: FURNARI, CHRISTOPHER Reg #: 19815-054
Date of Birth: 04/30/1924 Sex: M Race: WHITE
Scanned Date: 02/27/2012 14:35 Facility: ALM

 

Reviewed by Miller, Jay MD on 02/28/2012 12:02.

Bureau of Prisons - ALF
Case 3:12-cv

-02378-WJN-DB Document6 Filed 11/29/12 Page 30 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

thes aabsined 1S |

COOMNATIY 994

OW 'ayvNoar -g ¥
“1rd. rep
1A ULE & ys bbe sys ue

meee yn Ne

MY AY ol rial P

 

WW OT: Tetz

POHOFD NT "1 eu +

 

etoe/b2/z

 

 

 

 

 

 

--SIXv--~

BSF ond
c6E Lo
48 asad
oe ud
ze SVeY

pe
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 31 of 35
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 32 of 35

UNITED STATES DEPARTMENT OF JUSTICE
UNITED STATES PAROLE COMMISSION

Christopher Furnari

Reg. No. 19815-054

FCI Allenwood

Hearing Date: October 26, 2011

 

NATIONAL APPEAL OF CHRISTOPHER FURNARI

 

Flora Edwards, Esq.

115 Broadway - Suite 1505
New York, New York 10006
212-785-3344

Attorney for Christopher Furnari
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 33 of 35

TABLE OF CONTENTS
Page

PRELIMINARY STATEMENT .........-arazenerrercnnnsaanncnnnay Ht ai Bt ereeeenes 1
PROCEDURAL HISTORY cco. co cn axon 6p BORE ER AS Coa ta om oe coins EN tS 1
RSURSON APPEAL: cs on uncunenacnnna diieied borers memerocenneunstbd @ af eee 4
POINTI  FURNARI’S ADVANCED AGE AND FAILING HEALTH

CONSTITUTE COMPELLING REASONS WHY A MORE

LENIENT DECISION SHOULD BE RENDERED ON

GROUNDS OF COMPASSION (28 C.F.R §§2.26(e)(3)(7).----- 22020086 4
POINTIL THERE IS NO RATIONAL BASIS FOR THE CONCLUSION

THAT GRANTING FURNARI PAROLE AFTER 25 YEARS

IMPRISONMENT MINIMIZES THE SERIOUSNESS OF THE

OFFENSE AND PROMOTES A DISRESPECT FOR THE LAW

CER, §2.26(€)(3)) vecceccecereeeeeeeeeceeeeeen eee eeeeneeeonerenes 7
POINTII| THE ORDER OF A RECONSIDERATION HEARING 2026

THIRTEEN YEARS AFTER THE LIFE OF THE COMMISSION

HAD EXPIRED VIOLATES TITLE 18US.C.A. §§ 4206

(CF.R§§2.26(@)(5) o0.ec-cceveeeeeeeeeeeeeceeeeeeeeeeeeseeseenees 2
GORCUTIGION. —.0c:ceares os ou ou ow ev ee aensmenncennen Hh dA ap REE STARR a 14
Case 3:12-cv-02378-WJN-DB Document 6 Filed 11/29/12 Page 34 of 35

NATIONAL APPEAL OF CHRISTOPHER FURNARI

PRELIMINARY STATEMENT

Christopher Furnari appeals from the adverse decision of the Notice of Action
dated January 20, 2012 (Exhibit A). This appeal is timely filed pursuant to 28 C.F.R.
§2.27(a).

PROCEDURAL HISTORY

On January 13, 1987, Christopher Furnari was sentenced by Judge Owen, sitting in
the Southern District of New York to 100 years in prison, following his conviction, not as
a principal, but as an aider and abettor in a bid-rigging scheme.

On December 3, 1996 Mr. Furnari had his initial parole hearing at FCI Allenwood.
On January 8, 1997 a notice of action issued ordering continuation “to a 15 year
reconsideration hearing (December, 2011)”. Following the decision of the United States
Court of Appeals for the Third Circuit, Furnari v. Warden, Allenwood Federal Correctional
Institution 218 F.3d 250,252 (3d Cir. 2000), the Parole Commission issued a Notice of Action
to reopen and schedule a de novo hearing. On January 2, 2001, following a de novo hearing,
the Parole Commission issued a Notice of Action ordering continuation “to a 15 year

reconsideration hearing (December, 2011)”.
On April 25, 2001, the National Appeals Board affirmed its prior decision. On June

8, 2005, Furnari had an interim hearing at which new evidence was presented. On July 8,
Case 3:12-cv-02378-WJN-DB Document6 Filed 11/29/12 Page 35 of 35

2005, the Commission issued a Notice of Action ordering continuation “to a 15 year
reconsideration hearing (December, 2011)”. On September 19, 2005 Furnari appealed to
the USPC National Appeals Board. On November 23, 2005 the appeal was denied.
Furnari filed for a writ of habeas corpus, pursuant to 28 U.S.C.§2241 on February 15, 2006.
The Petition was denied on June 20, 2007. His appeal to the U.S. Court of Appeals for the
Third Circuit was denied on July 9, 2008. Furnari v. U.S. Parole Com "n, 531 F.3d 241 Gd Cir.
2008).

On October 27, 2009 Furnari had an interim hearing at which new evidence regarding
his deteriorating health was presented. On December 22, 2009, the Commission issued a
Notice of Action ordering continuation “to a 15 year reconsideration hearing (December,
2011)”.

On October 26, 2011 a 15-year Reconsideration Hearing was held at which the
hearing examiner recommended parole effective January 12, 2012. A copy of the Hearing
Examiner’s recommendation is annexed hereto as Exhibit B. The basis for the Hearing
Examiner’s recommendation is set forth in his evaluation as follows:

Christopher Furnari is an 87 year old male offender appearing
before the Commission for a 15-Year Reconsideration Hearing.
He was a [sic capo] in the Lucchese [sic Crime] Family which
was involved in murders, extortion and racketeering. It should
be noted that he was convicted of Extortion, Racketeering, and
Conspiracy to Commit Racketeering which involved murders

that he may have known about but did not participate in.
Hence the Category Eight rating of his offense. The subject has
